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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              )
                                                       )
          v.                                           )
                                                       )       Case No. 21-cr-708 (RCL)
                                                       )
                                                       )
LEO KELLY,                                             )
                                Defendant.             )
                                                       )

                                        Motion to Withdraw

          Undersigned counsel was trial counsel for the above defendant. The defendant was recently

resentenced by this Court. See ECF Nos. 162 & 163. Mr. Kelly has appellate counsel, Nic Smith.

Undersigned counsel has retired. Undersigned counsel has served this motion on Mr. Smith for his

client.

          Wherefore, undersigned counsel respectfully requests that she be released from the case and

the motion to withdraw be granted.

                                               Respectfully submitted,

                                               KIRA ANNE WEST

                                        By:    /s/Kira Anne West
                                               Kira Anne West
                                               DC Bar No. 993523
                                               712 H Street N.E., Unit #509
                                               Washington, D.C. 20002
                                               Phone: 202-236-2042
                                               kiraannewest@gmail.com
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                                CERTIFICATE OF SERVICE

       I hereby certify on the 13th day of January, 2025, a copy of same was electronically filed

using the CM/ECF system and thus delivered to the parties of record and pursuant to the rules

of the Clerk of Court.

                                               /s/Kira Anne West
                                                   Kira Anne West




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                         )
                                                  )
      v.                                          )
                                                  )       Case No. 21-CR-708 (RCL)
                                                  )
                                                  )
LEO KELLY,                                        )
                            Defendant.            )
                                                  )

                                          ORDER

      This Court has considered the motion to withdraw filed by trial counsel for defendant

Kelly. Finding it meritorious, the motion is GRANTED/DENIED.

      SO ORDERED this ____ day of _______, 2025.

                                   _____________________________
                                   Royce C. Lamberth
                                   United States District Judge




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